Case 2:17-cv-00185-LPL Document 50-4 Filed 09/26/18 Page 1 of 5

EXHIBIT D

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AL.LEGHEN¥

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Incident: Report

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Case 2:17-cv-00185-LPL Document 50-4 Filed 09/26/18 Page 3 of 5

    

.» iv
cOUNTY OF “ ALLEGHENY
Rich Fitzgerald
County Executive
Who is involved? John Crlando

When did the incident occur? 2230hrs 3/24/ 16
Where did the incident occur? Intake sally port

What happened? On above date and time the above New Court Orlando Was threating harm
to all of&cers’ staff members and inmates. 'I'hc New Court stated he was on drugs and Was
feeling aggressive This New Ccurt was placed into a remaint chair per Sgt. Habmjs.lc. 'I'bjs
New Court was cleared by medical and placed into holding cell #9.

Witnesses: Sgt. Habu.rga_lc, C/O’s Dabrcwski, Ca.ito, Mullen and Bonenberger

RePO!`iiHS Staff: Officer gamessz 3/24/ 16 Time: 2240

 

0rlanclo L. Harper, Wardcn
Allegheny County jail
950 Second Avenue - Pittsburgh, PA 15219
Phone (412) 350-2000 - (412) 350~2032
Www.allegbenycounty.us

 

 

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